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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION

 MARCO GUIRLANDO                                                                     PLAINTIFF


 v.                                 Civil No. 1:20-cv-01007


 SHERIFF RICKY ROBERTS;
 CAPTAIN RICHARD MITCHAM;
 KEVIN PENDLETON; LT. PAUL
 KUGLER; LT. BILLY PERRY; SGT.
 JOHN WARD; SGT JEDIDIAH COTTON;
 DR. DEANNA HOPSON; and NURSE
 SHERIE RICE                                                                     DEFENDANTS


                                            ORDER

       Before the Court is the Report and Recommendation filed August 24, 2021, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

(ECF No. 91). Judge Bryant recommends that: Defendants’ Motion for Summary Judgment (ECF

No. 73) be granted; Plaintiff’s individual and official capacity claims against all defendants be

dismissed with prejudice; Plaintiff’s state law claim for breach of contract against Defendant Rice

be dismissed without prejudice; and Defendants Perry and Ward be terminated as Defendants

because they were never served with process.

       Plaintiff has twice been granted an extension of time to file an objection to the Report and

Recommendation. (ECF Nos. 93, 95). The deadline for Plaintiff to file an objection expired on

October 11, 2021. Plaintiff did not file an objection to the Report and Recommendation, and the

time to do so has passed. See 28 U.S.C. § 636(b)(1). Being well and sufficiently advised, and

finding no clear error on the face of the record, the Court adopts the Report and Recommendation

(ECF No. 91) in toto. Defendants’ Motion for Summary Judgment (ECF No. 73) is GRANTED.
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Plaintiff’s individual and official capacity claims against all Defendants are DISMISSED WITH

PREJUDICE. Plaintiff’s state law claim for breach of contract against Defendant Rice is

DISMISSED WITHOUT PREJUDICE. Defendants Perry and Ward are TERMINATED as

Defendants because they were never served with process.

       IT IS SO ORDERED, this 18th day of October, 2021.

                                                          /s/ Susan O. Hickey
                                                          Susan O. Hickey
                                                          Chief United States District Judge
